             Case 2:05-cr-00447-GEB Document 40 Filed 05/10/06 Page 1 of 3


1    DANIEL J. BRODERICK, Bar #89424
     Acting Federal Defender
2    Designated Counsel for Service
     801 I Street, 3rd Floor
3    Sacramento, California 95814
     Telephone (916) 498-5700
4
5    Attorney for Defendant
     JESUS HUERTA
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )     No. CR-S-05-447 GEB
                                      )
12                     Plaintiff,     )     STIPULATION AND [PROPOSED]
                                      )     ORDER CONTINUING STATUS
13        v.                          )     CONFERENCE AND EXCLUDING TIME
                                      )
14   JESUS HUERTA, et al.,            )
                                      )     Date: June 9, 2006
15                     Defendants.    )     Time: 9:00 a.m.
                                      )     Judge: Garland E. Burrell, Jr.
16                                    )
17
18           It is hereby stipulated between the parties, Christine Watson,
19   Assistant United States Attorney, attorney for Plaintiff; Timothy E.
20   Warriner, attorney for defendant, ROSA ISELA HUERTA; and Daniel J.
21   Broderick, attorney for defendant, JESUS HUERTA, that the status
22   conference presently scheduled for May 5, 2006 be vacated and a new
23   status conference hearing date of June 9, 2006 at 9:00 a.m. be set.
24        The parties have met and conferred and are currently evaluating
25   additional information provided by the defendants in relation to this
26   case.     All parties need additional time to investigate this additional
27   information.    Once that is completed, the defense will need time to
28   review a final plea agreement.
              Case 2:05-cr-00447-GEB Document 40 Filed 05/10/06 Page 2 of 3


1          The parties, through their respective counsel, hereby stipulate
2    and agree that the status conference currently scheduled for
3    May 5, 2006 be continued until June 9, 2006, at 9:00 a.m.
4          The parties further stipulate and agree that the time period
5    between May 5, 2006 and June 9, 2006 be excluded under the Speedy Trial
6    Act (18 U.S.C. §3161(h)(8)(B)(iv) and Local Code T4), due to the need
7    to provide defense counsel with the reasonable time to prepare.
8    Dated: May 4, 2006
9                                              Respectfully submitted,
10
                                               /s/ Daniel J. Broderick
11                                             ________________________________
                                               DANIEL J. BRODERICK
12                                             Acting Federal Defender
                                               Attorney for Defendant
13                                             JESUS HUERTA
14
                                               /s/ Daniel J. Broderick for
15                                             ________________________________
                                               TIMOTHY E. WARRINER, ESQ.
16                                             Attorney for Defendant
                                               ROSA ISELA HUERTA
17
18   Dated:    May 4, 2006                     MCGREGOR W. SCOTT
                                               United States Attorney
19
20                                             /s/ Daniel J. Broderick for
                                               _________________________________
21                                             CHRISTINE WATSON
                                               Assistant U.S. Attorney
22                                             Attorneys for Plaintiff
23                                 ------------
24         Pursuant to the stipulation filed by the parties, and for the
25   reasons stated therein, IT IS HEREBY ORDERED that the status conference
26   currently scheduled for May 5, 2006, be continued until June 9,
27   2006 at 9:00 a.m.
28         IT IS FURTHER ORDERED that the time period between May 5, 2006 and


     Stip. Continuing Status Conference        2
              Case 2:05-cr-00447-GEB Document 40 Filed 05/10/06 Page 3 of 3


1    June 9, 2006, be excluded under the Speedy Trial Act (18 U.S.C.
2    §3161(h)(8)(B)(iv) and Local Code T4), due to the need to provide
3    defense counsel with the reasonable time to prepare.
4    Dated:    May 10, 2006
5
                                          /s/ Garland E. Burrell, Jr.
6                                         GARLAND E. BURRELL, JR.
                                          United States District Judge
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     Stip. Continuing Status Conference        3
